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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA

 ALEX A., by and through his guardian,            )
 MOLLY SMITH individually and on behalf           )
 of all others similarly situated,                )
                                                  )
                                                  )
          Plaintiff,                              )
                                                  )
 v.                                               )   Civ. A. No. 3:22-CV-00573-SDD-RLB
                                                  )
 GOVERNOR JOHN BEL EDWARDS, in                    )
 his official capacity as Governor of             )   MEMORANDUM IN SUPPORT
 Louisiana; WILLIAM SOMMERS, in his               )   MOTION TO DISQUALIFY
 official capacity as Deputy Secretary of the     )   ATTORNEY AND REQUIRE LIVE
 Office of Juvenile Justice, JAMES M.             )   EXPERT TESTIMONY
 LEBLANC, in his official capacity as             )
 Secretary of the Louisiana Department of         )
 Public Safety & Corrections,                     )
                                                  )
                                                  )
          Defendants.                             )

       Defendants submit this memorandum in support of their Motion to disqualify Corene

Kendrick as an attorney for Plaintiffs in this matter and to require all witnesses to testify live at

trial due to unethical practices of witness communications during pre-trial depositions in this

matter. Defendants also request sanctions against Plaintiffs’ counsel for the deposition costs

incurred for the testimony of Dr. Susi Vassallo and for attorneys’ fees incurred in the filing of this

Motion.

           1.          RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

       On August 10, 2023, at 9:00 a.m. local time, Connell Archey, attorney for Defendants,

deposed Dr. Susi Vassallo regarding her expertise, experience, materials, and opinions regarding

the pending Motion for Preliminary Injunction filed by Plaintiffs and set for an evidentiary hearing




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beginning August 15, 2023. The deposition was conducted via Zoom, with all parties participating

remotely.

        At approximately 9:28 a.m., counsel for Defendants heard multiple cell phone

notifications, commonly associated with incoming text messages, coming from Dr. Vassallo’s

audio feed, as confirmed by a green outline indicating the source of the audio coming through the

Zoom platform. Mr. Archey asked Dr. Vassallo whether she was receiving text messages during

her deposition. Dr. Vassallo confirmed that she had received text messages during her deposition

and, upon further questioning, confirmed that those messages were received from Corene

Kendrick, counsel for Plaintiffs who was defending the deposition. 1 Dr. Vassallo testified that the

text messages were directing her to portions of her expert declaration and providing information

in response to Mr. Archey’s questions of Dr. Vassallo. Attached hereto as Exhibit A is a rough

copy of the transcript of Dr. Vassallo.

        Following the deposition of Dr. Vassallo, Mr. Archey requested that Plaintiffs’ counsel

preserve and produce all electronic communications between the Plaintiffs’ legal team and

Plaintiffs’ expert witnesses which occurred during the depositions. 2 Counsel responded and

claimed that no such communications occurred during the depositions of Dr. Gagnon and Dr.

McCarthy, but produced text messages in excess of what was disclosed on the record. Exhibit B,

Email Correspondence; Exhibit C, Text Messages. Although Dr. Vassallo disclosed the contents

of two text messages in her deposition, 3 counsel is now aware that Ms. Kendrick sent nine distinct

texts to Dr. Vassallo during her deposition testimony, providing answers and directing Dr. Vassallo

to records in support of her opinions.


1
  Ms. Kendrick has been admitted to the California bar since 2004 and currently serves as the Deputy Director of the
ACLU’s National Prison Project.
2
  Dr. Gagnon and Dr. McCarthy, Plaintiffs’ other expert witnesses, were deposed the day prior, on August 9, 2023.
3
  Ex. A, pp. 22–24.


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                            2.       ARGUMENT AND AUTHORITIES

A.      Disqualification of Attorney for Unethical Conduct

        Rule 3.4(a) of the Louisiana Rules of Professional Conduct for Attorneys prohibits an

attorney from “unlawfully obstruct[ing] another party’s access to evidence.” The testimony of an

expert witness is valid evidence and Ms. Kendrick’s interference with Mr. Archey’s deposition of

Dr. Vassallo – seeking to obtain the evidence and opinions of Dr. Vassallo – is prohibited conduct

under Rule 3.4(a).

        An attorney’s pro hac vice admission may be revoked if the Court finds that the attorney

is not competent or ethically fit to practice or if the applicant has failed to otherwise comply with

the requirements of Rule XVII of the Louisiana Supreme Court. Communicating with witnesses

during live and sworn testimony, especially clandestinely, is certainly an ethical violation meriting

the revocation of an attorney’s provisional admission to practice in this Court.

        There is abundant literature and guidance in the legal community regarding the ethical

considerations for remote proceedings, including remote depositions via videoconferencing,

particularly following the rapid proliferation of remote proceedings during and after the COVID-

19 pandemic. Courts, law firms, and bar associations have routinely advised against unsanctioned

communications with witnesses during depositions. 4 Indeed, the Eastern District of Louisiana has

imposed protocols specifically prohibiting any counsel’s use of text messaging or email to

witnesses during a remote deposition. Matter of Tara Crosby, LLC, 2021 WL 1699883 (E.D. La.


4
  See, e.g., Improper Testing During Remote Testimony Can Result in Significant Consequences to Litigants and
Lawyers,            AMERICAN             BAR             ASSOCIATION,             July           1,       2022.
https://www.americanbar.org/groups/litigation/committees/corporate-counsel/articles/2022/spring2022-improper-
texting-during-remote-testimony-can-result-in-significant-consequences-to-litigants-and-lawyers/?login


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4/29/21). These protocols should not be necessary – attorneys are expected to conduct themselves

with the utmost decorum and should not need advance court notice that communication with a

witness during a deposition is unethical and highly improper.

B.     Sanctions for Improper Conduct During Deposition

       F.R.C.P. 30(d)(2) allows a court to impose appropriate sanctions, including but not limited

to the reasonable expenses and attorney’s fees incurred by a party, against a person who impedes,

delays, or frustrates the fair examination of the deponent. During a deposition, “a questioning

attorney is entitled to have the witness, and the witness alone, answer questions.” Salazar v. City

of Phoenix, 2021 WL 2075735 (D. Arizona 5/24/21) (internal quotations omitted).


       Importantly, the actions of counsel were conducted off the record and clandestinely. An

attorney’s surreptitious communications with a witness during a remote deposition, wherein

opposing parties are unable to monitor the off-screen conduct of the participants, is impermissible

and cannot be tolerated. Ms. Kendrick’s secretive communications with an expert witness are clear

violations of the decorum required of an attorney proceeding before this Court. Sanctions are

warranted.


C.     Requirement of Live Testimony

       Plaintiffs have requested that their expert witnesses be allowed to testify remotely via

videoconferencing at the evidentiary hearing beginning on August 15, 2023. [R. Doc. 184].

Defendants opposed the motion, suggesting that live testimony is the best method for the court to

assess the credibility of the witnesses and receive the testimony. [R. Doc. 192]. The Court has

required that all witnesses testify live, with the exception of Dr. Gagnon, who resides in Finland.

[R. Doc. 196]. Dr. Gagnon was located in New York City at the time of his deposition on August

9, 2023, despite representations from counsel that Dr. Gagnon would be unable to travel to the


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United States for the trial, without citing any specific conflicts with Dr. Gagnon’s schedule.

Though Plaintiffs assert that no improper communications occurred during the deposition of Dr.

Gagnon, Defendants are concerned that Plaintiffs may attempt to communicate with Dr. Gagnon

during his testimony if he is permitted to testify remotely. In light of the documented improper

communications with Plaintiffs’ witnesses during depositions, Defendants respectfully request that

the Court reconsider its prior ruling and require Dr. Gagnon to testify live in court for the

evidentiary hearing.

                                       III.   CONCLUSION

       Plaintiffs’ counsel have violated the ethical and professional standards required of this

Court. Due to the egregious and documented incidence of communicating with and expert witness

during sworn testimony, Defendants respectfully request that the Court revoke the pro hac vice

admission of Corene Kendrick and prohibit her further participation in these proceedings.

Defendants also request an award of attorney’s fees and costs associated with this motion and the

deposition of Dr. Susi Vassallo. Finally, Defendants ask the Court to revise its prior order

permitted remote videoconference testimony of Plaintiffs’ expert witness and require all witnesses

to appear live to present testimony.

       Dated: August 10, 2023.

                                                    Respectfully Submitted:

                                              BY:
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                                                      official capacity as Deputy Secretary of the
                                                      Office of Juvenile Justice; and JAMES M.
                                                      LEBLANC, in his official capacity as
                                                      Secretary of the Louisiana Department of
                                                      Public Safety & Corrections


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

        Baton Rouge, Louisiana this 10th day of August, 2023.


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